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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                     4:06CR3016
                                               )
               v.                              )
                                               )
ARMANDO GARCIA-DELACRUZ,                       )           ORDER ON MOTION FOR
                                               )        CONTINUANCE TO RESPOND TO
                      Defendants.              )          GOVERNMENT’S ANSWER
                                               )


        IT IS ORDERED that the motion for continuance to respond to the government’s answer,
filing 186, is granted and the defendant shall have on or before June 1, 2009, in which to file and
serve his response.

       Dated April 29, 2009.

                                      BY THE COURT

                                      s/ Warren K. Urbom
                                      United States Senior District Judge
